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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §              DOCKET NO. 3:19-CR-00452-X
                                                 §
 BRIAN CARPENTER                                 §

       UNOPPOSED JOINT MOTION TO APPOINT COORDINATING DISCOVERY
                               ATTORNEY

TO THE HONORABLE JUDGE OF SAID COURT:

         For the reasons that follow, the undersigned counsel for the Defendants, Brian Carpenter

and Jerry Hawrylak, respectfully request that the Court appoint the Office of the Federal Public

Defender as the coordinating discovery attorney in this matter.

         The two defendants in this case are charged in a 12-page indictment with one (1) count of

conspiracy to commit health care fraud and six (6) counts of health care fraud. The Government

has already produced seven rounds of discovery totaling approximately 2.23 terabytes of data. To

the Government’s credit, they have produced the discovery bates numbered and in a format that

can easily be loaded into a software program designed to search e-discovery.

         The problems associated with organizing and searching through this amount of

voluminous material are well documented in “Criminal E-Discovery, A Pocket Guide for

Judges.” The costs alone should provide an indication of the difficulties faced by each of the

defendants. Counsel has received a quote from a software vendor who has stated that it would

cost close to $8,000 - $10,000 per month (per defendant) to host a production of the amount of

data at issue here, which would then enable the defendants to utilize the search software. The

software vendor’s quote could dramatically increase if the Government were to provide

additional discovery.

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       As in other document and file intensive cases, there is a need for the parties to consolidate

resources. This need stems from both principles of fairness and pragmatic considerations alike.

Possessing the capability to search the discovery is essential to ensuring each of the defendants

receive adequate representation. Given the costs associated with this volume of discovery, it is

prohibitively expensive for the defendants to collectively obtain the software to search this

discovery once, much less for each of the two defendants independently.

       Appointing a coordinating discovery attorney would enable the Court and the

Government to work with one person regarding any discovery issues in this case. A discovery

attorney would act as a conduit between the defense, the Government, and the Court. Jason

Hawkins, the Federal Public Defender for the Northern District of Texas, has agreed to utilize

the resources of his office to assist with this voluminous discovery and to act as the coordinating

discovery attorney. The FPD’s office has the capability to host this discovery on a document-

review platform using Summation. The use of Summation will allow the defense to organize

and search through the discovery in an efficient and cost-effective manner. In addition, the use

of Summation would allow the defendants to expedite their preparation for trial.

       There is local precedent for a district court to appoint a discovery coordinator. Moreover,

in prior cases where the Federal Public Defender’s Office hosted discovery using Summation,

there was a substantial cost savings to the parties and the Court. Accordingly, the undersigned

counsel respectfully request that the Court appoint the Federal Public Defender’s Office for the

Northern District of Texas as the coordinating discovery attorney.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Court enter an

Order granting this Motion and appointing the Federal Public Defender’s Office as the

coordinating discovery attorney in this matter.



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                                         Respectfully submitted,


                                          /s/ Daniel K. Hagood, P.C.      K

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                               CERTIFICATE OF CONFERENCE

          I hereby certify that on the 29th day of May, 2020, I have conferred with USDOJ Trial

Attorney Brynn Schiess regarding the foregoing motion, and that she is unopposed to the filing of

same. I further certify that I have conferred with counsel of record for Defendant Hawrylak

regarding the foregoing motion and that he is unopposed to (and has joined in) the filing of same.

                                                 /s/ Daniel K. Hagood            K
                                                DANIEL K. HAGOOD, P.C.



                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 29th day of May, 2020, a true and correct copy of the foregoing

motion was filed with the Clerk of the Court for the United States District Court, Northern District

of Texas using the electronic case filing system, which provides for service upon all counsel of

record.

                                                 /s/ Daniel K. Hagood            K
                                                DANIEL K. HAGOOD, P.C.




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